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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
UNITED STATES OF AMERICA                   )
                                           )
     V.                                    ) CRIMINAL CASE NO: 1:21-CR-0382-PLF
                                           )
CHRISTOPHER WARNAGIRIS                     ) TRIAL: NOVEMBER 8, 2023
                                           )
         DEFENDANT.                        )
__________________________________________)

         DEFENSE OBJECTIONS TO GOVERNMENT EXHIBITS
———————————————————————————————————————


       The defendant reserves his right to make any and all objections to Government exhibits

during the trial, as needed, on appropriate grounds.

       However, in compliance with the Court’s Order dated August 4, 2023, the Defendant is

able to make the following advance objections:

       1. Exhibit 101 — a January 6 montage video that is not particularized to this defendant

           or his case. See objections raised in ECF No. 70; Order, ECF No. 90. The video also

           has hearsay audio recordings that are being admitted for the truth of the matters

           asserted. See Fed. R. Evid. 402, 602, 802, 901(a).

       2. Exhibit 205 — a 2-second audio clip without context and without a time stamp that

           appears irrelevant and hearsay. See Fed. R. Evid. 402, 602, 802, 901(a).

       3. Exhibit 206 — a 5-second audio clip without context and without a time stamp that

           appears irrelevant and hearsay. See Fed. R. Evid. 402, 602, 802, 901(a).




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4. Exhibit 207 — an 18-second audio clip without context and without a time stamp that

   appears irrelevant and hearsay. See Fed. R. Evid. 402, 602, 802, 901(a).

5. Exhibit 315 — CCTV footage from inside what appears to be the House chamber

   when a protester was shot outside the House chamber. Mr. Warnagiris never entered

   the House chamber nor the Senate chamber. He wasn’t anywhere near this protester

   when she was shot. It has nothing to do with this case. The footage inside the

   chamber is irrelevant to this case and prejudicial to the defendant. See Fed. R. Evid.

   402, 403.

6. General objection to the 400 series — Mr. Warnagiris appears for brief moments in

   these videos. Many of the videos are long and contain a variety of content not

   relevant to this case. The Defendant asks for a limitation on the videos in this series

   — that only portions depicting him or which are relevant to a legal issue in this case

   should be played in court and, if meeting other standards, be admitted at trial with

   limiting instruction as to admission on only for limited portions. See Fed. R. Evid.

   103, 106.

7. Exhibit 407— this is a duplicate of Exhibit 406, repetitive evidence. See Fed. R. Evid.

   403.

8. Exhibit 421 — this is a post-January 6 commentary video. It is not video recorded

   during the events. It has nothing to do with Mr. Warnagiris, and the statements made

   by the commentators are highly prejudicial to the defendant. The government’s clip

   from a random moment of this video, which includes a brief moment depicting Mr.




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   Warnagiris in the Capitol Building, Exhibit 421.1, is more appropriate. See Fed. R.

   Evid. 402, 403, 602, 701.

9. Exhibit 421.2 — this video does not appear to depict Mr. Warnagiris. It is irrelevant

   to this case. See Fed. R. Evid. 402.

10. Exhibit 432 — Video footage from inside what appears to be the House chamber

   when a protester was shot outside the House chamber. Mr. Warnagiris never entered

   the House chamber nor the Senate chamber. He wasn’t anywhere near this protester

   when she was shot. It has nothing to do with this case. The footage inside the

   chamber is irrelevant to this case and prejudicial to the defendant. See Fed. R. Evid.

   402, 403.

11. Exhibit 433 — Video footage of a protester shot outside the House chamber. Mr.

   Warnagiris wasn’t anywhere near this protester when she was shot. It has nothing to

   do with this case. The footage is irrelevant to this case and prejudicial to the

   defendant. See Fed. R. Evid. 402, 403.

12. Exhibit 601 — property receipt for the search warrant. Irrelevant, hearsay. See Fed.

   R. Evid. 402, 802.

13. Exhibit 602 — 481 page report of items taken from Mr. Warnagiris's mobile phone

   from various dates. Some are messages by him, others are to him. Some are photos

   from random dates. Some are group chats. The dates of materials in the report range

   from July 2020 through May 2021. The cumulative report/materials are highly

   prejudicial and irrelevant to this case. Certainly, various messages sent by others are

   prejudicial and hearsay. The majority of photos from dates not on January 6 are


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   entirely irrelevant to this case. Photos sent by others or saved by the phone from

   visiting websites are irrelevant. The report in its full form is confusing, highly

   prejudicial, and should not be inadmissible. See Fed. R. Evid. 402, 403, 602, 802,

   901(a).

14. Exhibit 605 — an image dated 1/24/2021 that appears to have been saved to Mr.

   Warnagiris’ phone from the phone opening some text message, email message or

   website. This is not a photo Mr. Warnagiris took, nor is there proof it was deliberately

   saved. There is no information on whether the phone sent this message or received it.

   It’s irrelevant to this case, lacks context, lacks probative value, confuses the

   factfinder, and is prejudicial. See Fed. R. Evid. 402, 403, 602, 901(a).

15. Exhibit 606 — an image dated 7/3/2020 that appears to have been saved to Mr.

   Warnagiris’ phone from the phone opening some text message, email message, or

   website. This is not a photo Mr. Warnagiris took, nor is there proof it was deliberately

   saved. There is no information on whether the phone sent this message or received it.

   It’s irrelevant to this case, lacks context, lacks probative value, confuses the

   factfinder, and is prejudicial. See Fed. R. Evid. 402, 403, 602, 901(a).

16. Exhibit 607 — an image without a date, described as originating from an email

   attachment that Mr. Warnagiris’ phone opened. Mr. Warnagiris is wearing the same

   jacket as he wore on January 6, but the image is of no other value. Identity in this case

   is not an issue as the defendant is stipulating to identity. It’s irrelevant to this case,

   lacks context, lacks probative value, confuses the factfinder, and is prejudicial. See

   Fed. R. Evid. 402, 403, 602, 901(a).


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17. Exhibit 608 — a photo dated 12/13/2020. This image depicts Mr. Warnagiris wearing

   the same jacket he wore on January 6, but on a different, irrelevant date. Identity in

   this case is not an issue as the defendant is stipulating to identity. This photo is

   irrelevant and confusing for the factfinder. See Fed. R. Evid. 402, 403, 602, 901(a).

18. Exhibit 609 — duplicate of Exhibit 608, in smaller size. It is the same objection as for

   608, plus cumulative, repetitive evidence. See Fed. R. Evid. 403.

19. Exhibits 610, 611, 612, 613 — photos dated 12/13/2020. The images do not depict

   anything related to this January 6 case. They are irrelevant to this case, lack context,

   lack probative value, confuse the factfinder, and are highly prejudicial. See Fed. R.

   Evid. 402, 403, 602, 901(a).

20. Exhibit 614 — a photo not depicting Mr. Warnagiris dated 9/5/2020. The image has

   no relevance to this case and lacks probative value. It also lacks context, confuses the

   factfinder, and is prejudicial. See Fed. R. Evid. 402, 403, 602, 901(a).

21. Exhibit 616 — an image dated 1/14/2021, not depicting Mr. Warnagiris, which

   appears to be a professional photo. This is not a photo taken by Mr. Warnagiris's

   phone, nor is there proof it was deliberately saved. There is no information on

   whether the phone sent this message or received it. It’s irrelevant to this case, lacks

   context, lacks probative value, confuses the factfinder, and is prejudicial. See Fed. R.

   Evid. 402, 403, 602, 901(a).

22. Exhibits 618 and 619 — photos dated 12/12/2020. The images do not depict anything

   related to this January 6 case. They are irrelevant to this case, lack context, lack




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   probative value, confuse the factfinder, and are highly prejudicial. See Fed. R. Evid.

   402, 403, 602, 901(a).

23. Exhibit 623 — photo dated 12/13/2020. The image does not depict anything related to

   this January 6 case. It is irrelevant to this case, lacks context, lacks probative value,

   confuses the factfinder, and is highly prejudicial. See Fed. R. Evid. 402, 403, 602,

   901(a).

24. Exhibit 625 — photo dated 1/10/2021. The image does not depict anything related to

   this January 6 case. It is irrelevant to this case, lacks context, confuses the factfinder,

   and is highly prejudicial. See Fed. R. Evid. 402, 403, 602, 901(a).

25. Exhibit 626 — photo dated 12/18/2020. The image does not depict Mr. Warnagiris or

   anything related to this January 6 case. It is irrelevant to this case, lacks context,

   confuses the factfinder, lacks probative value, and is highly prejudicial. See Fed. R.

   Evid. 402, 403, 602, 901(a).

26. Exhibit 627 — photo dated 1/10/2021. The image does not depict Mr. Warnagiris or

   anything related to this January 6 case. It is irrelevant to this case, lacks context,

   confuses the factfinder, and is highly prejudicial. See Fed. R. Evid. 402, 403, 602,

   901(a).

27. Exhibit 628 — image dated 1/19/2021. The image does not depict Mr. Warnagiris or

   anything related to this January 6 case. It is irrelevant to this case, lacks context, lacks

   probative value, confuses the factfinder, and is highly prejudicial. See Fed. R. Evid.

   402, 403, 602, 901(a).




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28. Exhibit 629 — image dated 11/13/2020. The image does not depict Mr. Warnagiris or

   anything related to this January 6 case. It is irrelevant to this case, lacks context,

   confuses the factfinder, lacks probative value, and is highly prejudicial. See Fed. R.

   Evid. 402, 403, 602, 901(a).

29. Exhibit 630 — image dated 1/4/2021. The image does not depict Mr. Warnagiris or

   anything related to this January 6 case. It is irrelevant to this case, lacks context,

   confuses the factfinder, lacks probative value, and is highly prejudicial. See Fed. R.

   Evid. 402, 403, 602, 901(a).

30. Exhibit 632 — an image dated 1/7/2021 that appears to have been saved to Mr.

   Warnagiris’ phone from the phone opening some text message, email message or

   website. This is clearly not a photo Mr. Warnagiris took, nor is there proof it was

   deliberately saved. There is no information on whether the phone sent this message or

   received it. It lacks context, confuses the factfinder, lacks probative value, and is

   prejudicial. See Fed. R. Evid. 402, 403, 602, 901(a).

31. Exhibits 633, 634, 635, 636, and 637 — photos taken by FBI Agents from the

   execution of the search warrant depicting Mr. Warnagiris possessing clothes that he

   wore on January 6. They are irrelevant to this case as Mr. Warnagiris is not

   challenging the identity element. See Fed. R. Evid. 402, 403.

32. Exhibit 701 — a demonstrative video animation of what was happening in Congress

   before Mr. Warnagiris entered the Capitol Building, what happened related to the

   shooting of the female protester, and what happened after protesters entered the

   Senate floor. Mr. Warnagiris did not partake in that entry, nor was he involved in the


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   Ashli Babbitt shooting. This video is irrelevant to his case and highly prejudicial. See

   Fed. R. Evid. 402, 403.

33. Exhibits 702, 703, 704, 705, and 706 — laws. These are not valid exhibits. See Fed.

   R. Evid. 401, 402. See also ECF No. 90.

34. Exhibit 707— a Congressional resolution dated Jan. 3, 2021. This is not a valid

   exhibit, is irrelevant, and lacks probative value. See Fed. R. Evid. 402.

35. Exhibits 708 and 709 — certificates of authenticity for items not in evidence. This is

   irrelevant and not probative. See Fed. R. Evid. 402.

       A. Additionally, the purported certifications of authenticity by the video

           recording custodians are wrong. They rely on the wrong Rules of federal

           evidence and are not appropriate to the types or categories of items they are

           trying to authenticate as exhibits under the non-hearsay exceptions.

       B. These certifications are written in a format and address points relevant to

           business records exceptions (Fed. R. Evid. 803(6)) to the hearsay rule but

           these video recordings are not business records. They are not records made

           for the purpose of and used in the regular business activity of the houses of

           the legislature. They are not records of data generated by, for, or in the course

           of legislative business (like committee reports or other documents normally

           used in the House, or time and attendance records, or payroll or personnel

           documents, or transcript of floor debates, etc). Instead, they are maintained

           and retained for purposes of physical security – which is not the regular day-

           to-day business of the congress or its respective houses. Most buildings and


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           facilities maintain security videos, for security but not for the internal

           business working of the enterprise.

       C. Accordingly, the proper authentication rules and method should be that or any

           other photographic evidence (i.e., compare a traffic light photo camera or

           other photographic device) – that would require the authentication of a

           witness who saw the original scene/site (regardless of whether he took the

           photo) and can authenticate that the visual representation recorded is a fair

           and accurate representation of the scene and the sight at the time of the

           recording.

36. Exhibit 801— an email. This is hearsay, offered for the truth of the matter. See Fed.

   R. Evid. 802.

37. Exhibit 805— a political diatribe by the Mayor of Washington DC, claiming that in

   order to stop the spread of Covid 19, she will need to declare a curfew commencing at

   6:00 p.m. on Wednesday, January 6. This is entirely irrelevant to the defendant’s case,

   who had left the area sometime before 4 p.m. See Fed. R. Evid. 402, 802.

38. Exhibit 806— a tweet by the mayor. This is hearsay, offered for the truth of the

   matter. See Fed. R. Evid. 802.



                                      Respectfully submitted,

                                      By Counsel:

                                            /s/
                                      Marina Medvin, Esq.
                                      Counsel for Defendant


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                                              MEDVIN LAW PLC
                                              916 Prince Street
                                              Alexandria, Virginia 22314
                                              Tel: 888.886.4127
                                              Email: contact@medvinlaw.com



                         CERTIFICATE OF SERVICE FOR CM/ECF

        I hereby certify that on October 24, 2023, I will electronically file the foregoing with the
Clerk of the Court for the United States District Court for the District of Columbia by using the
CM/ECF system. I certify that all participants in the case are registered CM/ECF users, and that
service will be accomplished by the CM/ECF system.

                                                    /s/
                                              Marina Medvin, Esq.




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